  Case 1:13-cv-01366-PLM ECF No. 495 filed 04/25/18 PageID.7534 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


                                       MINUTES
  Case Number             Date                 Time               Place                Judge
  1:13-cv-1366        4/25/2018     9:22 a.m. - 11:10 a.m.      Kalamazoo          Paul L. Maloney
                                    11:30 a.m. - 1:12 p.m.
                                     2:21 p.m. - 4:03 p.m.
                                     4:28 p.m. - 5:50 p.m.

                                        CASE CAPTION
       Plaintiff:                                                     Defendant:
 HLV, LLC                                         Gary Stewart, Jr.


                                       APPEARANCES
       Attorney:                                             Representing:
 J. Nicholas Bostic and
                                   Plaintiff
 Brittany Burke Dzuris

 Robert A. Callahan                Defendant


                                        PROCEEDINGS


 NATURE OF HEARING: Jury Trial - day 5; continuation of plaintiff’s presentation of
 evidence; plaintiff rests; defendant’s presentation of evidence; defendant rests; defendant’s
 Rule 50 motion, deemed made at close of plaintiff’s case, is denied




Court Reporter: Kathleen Thomas                       Case Manager: A. Redmond
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Civil Minute Sheet Page 2 of 2
HLV, LLC v. Gary Stewart, Jr.
Case No.: 1:13-cv-1366
Date: 4/25/2018

WITNESSES:
 Pltf    Deft                                             Name of Witness

   X                   Donald Visser (via video)

               X       William Donovan

               X       Gary Stewart




EXHIBITS:
 Pltf   Deft                                       Description              Admitted

  X                Exhibits 22, 23, , 37 - redacted, 51 - redacted          Yes



         X         Exhibits JJ, OOOO                                        Yes



         X         Exhibits YY                                              Under
                                                                            Advisement



ADDITIONAL INFORMATION:
